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LAWS

OF THE

Territory of Hawaii

LEGISLATURE -

REGULAR ‘SESSION

1907 |

PUBLISHED BY AUTHORITY

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1907

EXHIBIT “A”
Case 1:19-cv-00578-JM6-RT Document 92-2 Filed o5/28/A- Page 2 of 5 PagelD.741

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e . ACT 85.

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y To Requrre tHe Forwisaine or Invormarion Regarpine

THE Possession anp Ownxersure or Fire Arms axp Axe
" MUNITION WITHIN Tun TeRRirory or Hawar,

“ Be tt Emacted by the Legislature of the Territory of Hawaii:

4
Sucrrow 1. From and after forty days after the passage of
this Act, any person, firm, corporation or copartnership, resi-

sig dent or doing business within tho Territory of Wawaii having
P in his, its or their possession any fire arm oy five aris or an 5
ze ammmnition capable of causing death or inflicting great per-
i, = sonal injury, who shall fail to file a description of the same in

the manner provided by this Act shall be deemed guilty of a
misdemeanor and punished as this Act provides. Any person,

i: firm, corporation or copartuership being in possession of such

i fire arm or fire arms and or ammunition, shall file with tho
County Clerk of the County in which he, they or it resides or

i does business, « description of the fire arm or fire arms or and
ni ammunition owned by him, it or them, or in his, its or their

ae Possession, which description shall set forth the class of fire

z arm or fire arms or and ammunition so owned and possessed, “3
m. together with the name of the maker and the factory umber Agg
- when such number appears on said fire arm or fire arms or
© ammunition. In all cases where the owner or possessor of a
i said fire arm or fire arms or and ammunition is unable to fur-

Ve nish all of the information herein and hereby required, he shall

ee furnish as much as may be possible and in such manner as may ‘a
bp be required by said County Clerk.

Ge Srotiow 2. It shall be the duty of the County Olerk of such ¥
- . County to prepare and furnish to all persons applying therefor, ¥
ce, proper blanks upon which such information shall be furnished, 4
# in the following form: a

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POA de Grea)

REPORT OF FIRE ARMS AND AMMUNITION IN POSSESSION.

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Reet ene Street (or locality) ..........-.. : ea
Connlysoleiecseanon Territory of Tlawaii ......... 190. ae
ra |
N Di a
Naine of Name of ‘ Makers | Factory umber Dis- on
“Owner Possessur No. Description Name No. posed of

—_

Total Number Total Number

eee ee me se ewes oe

Signature of Owner or Possessor.

Section 3. It shall be the further duty of the County Clerk
to enter in a book to be provided for such purpose all informa-
a _ - wy to oe

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tion thus furnished him relative to the ownership and posses-
sion of fire arms and ammunition, which book shall be an exact
duplication of the descriptions furnished. And further to
furnish to the Governor of the Territory of Hawaii not later
than the 20th day of January and the 20th day of July of
each and every year, an exact report and complete copy of the
descriptions and information so furnished as aforesaid. :
Secrrow 4. It shall be the duty of every person, firm, cor-
poration and copartnership dealing in fire arms or ‘and ammu-
nition, to furnish to the County Clerk of the County in which
such person resides or wherein such business is carried on, ou
the first day of January and the first day of July of each and
every year, a list of all fire arms and ammunition in his, their
or its possession, and likewise at the times mentioned furnish
to such County Clerk a list of all arms brought into the Terri-
tory, in transit or otherwise, by him, them or it during the siz
months next preceding such -date upon which such list and
description is required to be filed ; the lists thus to be furnished
by such dealers in fire arms and ammunition shall comply as
nearly as possible with the requirements of Sections one and
two of this Act, as may be determined by such County Olerk. 3
Szorrow 5. The records provided by this Act to be kept “i
shall uot be treated as records subject to public inspection, and ae
the facts therein set forth shall be made public by such County _ 2
Clerk or Clerks only upon the request of the Governor of the -
_ Territory of Hawaii; or upon the order of a Court for the pur-
poses of procuring and intoducing evidence showing or tending 3%
to show a violation of this Act.

Szorron 6. Any person found in the possession of any ;
fire arm or fire arms or any ammunition without having com-
plied with the provisions of this Act shall be deemed guilty of 3%
a misdemeanor and upon conviction therefor shall be fined by ¥
the Court of appropriate jurisdiction in a sum of not more than
Five Hundred ($500.00) Dollars. Any person, firm, corpora- ‘gj
tion or copartnership failing to file any information herein ;

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required to be filed, shall be deemed guilty of a misdemeanor ‘
and upon conviction shall be fined by the court of appropriate
jurisdiction not more than Five Hundred ($500.00) Dollars.

Any County Clerk divulging any of the information contained

in such records other than as herein permitted shall be deemed

to he guilty of a misdemeanor and fined in a sw not exceeding
Twenty-five ($25.00) Dollars.

Sncriow 7. Nothing in this Act set forth shall be held to
require any of the authorities of the United States of America
carrying arms by virtue of their office, nor any of the authori-
ties of the Territory of Hawaii, including the organized militia,
carrying arms by virtue of their office, nor any of the authori-
ties of any county or municipality so carrying arms, to furnish
the description or information herein required.

Srorron 8. This Act shall take effect from and after the
date of its approval.

Approved this 19th day of April, A. D. 1907.

G. R. CARTER,
Governor of the Territory of Hawaii.

ACT 86,
AN ACT

To Enoourace THE Construotrron or DrveLorpmenr or Ratt-
ROADS In THE Territory or Hawani.

Be it Enacted by the Legislature of the Territory of Hawai:

Szorron 1. For the term of ten years from and after the
first day of January 1908 all of the property both real and

